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                                                   UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF COLUMBIA

                       CAROL WILD SCOTT,                               :

                                      Plaintiff,                       :
                                                                            Case No. 22-cv-00601 (CRC)
                              v.                                       :

                       WMATA,                                          :

                                      Defendant.                       :

                                          PLAINTIFF’S OPPOSITION TO
                           DEFENDANT’S MOTION IN LIMINE RE: DR. BERKOWITZ (ECF NO. 42)

                              On September 23, 2019, a WMATA subway train operator stopped her train at the

                       McPherson Square station platform, then—after passengers including Carol Scott had begun

                       standing up to disembark—violently jerked the train forward without providing any warning

                       to her passengers. In doing so, she violated the national standard of care, as well as WMATA’s

                       own explicit Standard Operating procedures, which explicitly require that if a train operator

                       intends to reposition a train after it has stopped at a station platform, she must first warn all

                       passengers of the impending movement via intercom announcement: “Attention customers,

                       this train will move forward; please hold on.” Ms. Scott was thrown to the floor, suffering

                       injuries including a left proximal femur fracture that required surgical repair.




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   202-463-3030




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                       Ms. Scott’s injuries have left her with a permanent limp, as well as pain, weakness, and

                       fatigability in the left leg.

                               WMATA moves in limine to exclude the testimony of transportation engineering and

                       safety expert Carl Berkowitz, Ph.D., PE. For the reasons set forth herein, WMATA’s Motion

                       should be denied.


                       I.    Factual Background and Procedural History

                               A.    WMATA knows the danger of repositioning trains at station
                                     platforms without warning passengers.

                               As of September 2019, WMATA’s Standard Operating Procedures required that train

                       operators berth their trains at station platforms, then wait 5 seconds before opening the doors.

                       (Ex. 1, WMATA Dep. (Henry) at 30:6-15). On October 18, 2023, WMATA itself issued a

                       press release that underscores its awareness of the fact that its passengers are accustomed to

                       waiting up to 15 seconds after a train has stopped at a station before the doors open:

                                       This week, customers may notice doors opening faster on some
                                       Red Line trains when they stop at stations. On Wednesday,
                                       Metro will begin certifying operators who have been trained to
                                       use Metro’s Auto Doors function.

                                       The feature enables doors to open automatically when the train
                                       stops at the platform. Not only is it safer and more reliable,
                                       but it also eliminates the delay of operators manually
                                       opening the doors.

                                       Currently, operators are required to open and close train doors
                                       manually. They’re instructed to stick their head out the
                                       window, take a few seconds to verify they are opening the
                                       doors on the correct side of the train, and then press a button
 Regan Zambri Long                     to open the doors. The process can take up to 15 seconds and
 1919 M Street, NW
     Suite 600                         happens more than 20,000 times a day across the system.
Washington, DC 20036
                                       With Auto Doors, signals at the platform tell the train which side
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                                       to open automatically when it arrives at each station platform.
                                       Operators will still put their head out of the window to make sure


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                                     everyone has exited or boarded safely before manually closing
                                     the doors.

                                     “Using Auto Doors eliminates human error from the process of
                                     operating our train doors, meaning a safer, smoother trip,” Brian
                                     Dwyer Chief Operations Officer said. “Anyone who uses
                                     Metrorail has experienced the wait, standing at the door
                                     wondering when the doors will open. Our customers tell us
                                     they want Auto Doors back and this change will improve
                                     customer experience and safety.”

                                     Metro has been testing Auto Doors during off-hours for months
                                     and the system performed without any safety issues more than
                                     2,500 times. Metro worked closely with the Washington
                                     Metrorail Safety Commission to move forward with this step in
                                     its automation program. We thank them for their work.

                       Ex. 2, WMATA, “Doors opening… faster! Metro preparing for Auto Doors,” Oct 18, 20231

                       (emphasis added).     That article links to WMATA’s webpage about Automatic Train

                       Operation,2 which, in turn, offers another link: “Here’s a side-by-side video showing how fast

                       auto doors open compared with manual open.” In that video, a woman on the train with

                       manually operated doors is clearly visible through one of the door windows (circled in red,

                       below). When the train stops, she steps up right to the doors, adjusts her coat, and stands

                       there, not holding onto anything, for 15 seconds before the doors open:




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                          1
                              https://www.wmata.com/about/news/ADO-operator-certification.cfm.
                          2
                              https://www.wmata.com/initiatives/plans/Automatic-Train-Operation-ATO/index.cfm.


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                       MetroForward, “Auto Doors: How fast do they open?” (screenshot) (red circle added).3

                              If instead of opening the doors (in line with reasonable passenger expectations) the

                       train operator instead found it necessary to move the train forward before opening the doors,

                       then WMATA’s Standard Operating Procedures mandated that the train operator first warn all

                       passengers of the impending movement via intercom announcement: “Attention customers,

                       this train will move forward; please hold on.” (Ex. 1 at 47:3-16; Ex. 3, WMATA SOP

                       50.5.1.1). As testified to by both the train operator and WMATA’s Rule 30(b)(6) corporate

                       designee, the explicit purpose of the announcement is to allow the customers to grab ahold of

                       something before the train moves, so they don’t get hurt:

                                         A. Why do we make an announcement?
                                         BY MR. REGAN:
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                              https://www.youtube.com/watch?v=ANkwtF2hT7A; also available on WMATA’s
                       website:       https://www.wmata.com/initiatives/plans/Automatic-Train-Operation-ATO/ATO-
                       Videos.cfm.


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                                        Q. Correct.
                                         A. Just so that people are on the platform and on the train
                                     are aware.
                                         Q. Okay. I don't want to put words into your mouth. But
                                     is one reason that people need to know the train is going to
                                     move forward again so that they can be prepared and not
                                     fall?
                                        MR. CHANDONNET: Objection. You can answer.
                                        A. Correct.

                       (Ex. 4, Johnson Dep., at. 11:14-12:18 (emphasis added))).

                                        Q. If you stop short, are you allowed to move the train
                                     forward again?
                                        A. You're allowed to reposition the train until you're
                                     properly berthed.
                                        Q. That's with that warning, you must give the verbal
                                     warning that's set forth in SOP 50-point-something that we
                                     looked at earlier; right?
                                        MR. CHANDONNET: Objection.
                                        BY MR. REGAN:
                                         Q. Alerting the passengers that you're going to move the
                                     train so they don't get hurt; right?
                                        MR. CHANDONNET: Objection.
                                        A. Yeah, according to 50.5, yes.
                                        BY MR. REGAN:
                                         Q. And that is the purpose, by the way; right? I think you
                                     said the purpose was so they can hold on. The worry is
                                     they're going to get hurt if they're not warned about what's
                                     happening; right?
                                        MR. CHANDONNET: Objection.
                                        A. They could, if they're not paying attention, they could
                                     get hurt. Most times, people feel the train stop so they
 Regan Zambri Long                   automatically get up thinking the doors are going to open.
 1919 M Street, NW
     Suite 600
Washington, DC 20036   (Ex. 1 at 47:3-16, 66:1-67:4 (emphasis added)).
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                              B.    WMATA train operator’s history of prior station overruns
                                    incentivizes her to err on the side of stopping short and
                                    repositioning—despite danger to passengers—to the point
                                    that it felt mundane to her.

                              At the time of the incident, WMATA’s train operator in question, Domenic Johnson,

                       had been operating trains for less than six months, having started in March 2019. (Ex. 4 at

                       9:4-8). In that short span of time, Ms. Johnson4 had already committed two station platform

                       “overruns.” An overrun occurs when a train operator fails to stop the train at the designated

                       point on the platform. (Ex. 1 at 48:9-16). When that happens, it is a big deal. All passengers

                       are either evacuated through doors rearwards from those that overshot the mark or taken to

                       the next station and offloaded there, the train and train operator are taken out of service for

                       the day, the train is inspected, and the train operator must fill out a special form that is kept as

                       part of her personnel file and may trigger retraining or other disciplinary actions. (Ex. 1 at

                       49:6-9, 67:6-68:2). In sum:

                                          Q. [] We agree that as of that point in time, as of September
                                      2019, every train on the WMATA system was supposed to be
                                      stopping on the eight-car marker; right?
                                          A. Yes.
                                          Q. And so if they blew past the eight-car marker by half a
                                      car --
                                          A. Mm-hmm.
                                          Q. -- it's a station overrun, there's paperwork, they're done
                                      for the day, the train is inspected, it's going in their record; right?
                                          A. Mm-hmm.
                                         Q. If they're a half a car short of the eight-car marker,
                                      nothing happens except they have to move the train forward
 Regan Zambri Long                    again; right?
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                                          A. Yes, to the eight-car marker.
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                          4
                              In its Motion, WMATA incorrectly refers to its train operator Ms. Johnson as “Mr. Johnson.”


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                       (Ex. 1 at 78:6-21).

                              After beginning to operate trains for WMATA in March 2019, Ms. Johnson almost

                       immediately committed two station overruns. (Ex. 5, Station Overrun Report 4/20/19; Ex. 6,

                       Station Overrun Report 4/28/19). This necessitated that she undergo retraining. (Ex. 7, RTRA

                       Training Request Form). Ms. Johnson received the obvious message—if you can’t stop the

                       train where you’re supposed to, better to miss short than long. WMATA was not shy about

                       discussing this obvious conclusion with the press, either. A June 2018 Washington Post

                       Express article explained as follows:

                                      Question: Today we’re curious about why trains come to a
                                      stop at a station and then lurch forward a few inches or feet.
                                      What difference does it make?
                                      Answer: It goes back to the deadly June 22, 2009, crash of a Red
                                      Line train into a stopped train between the Fort Totten and
                                      Takoma Metro stations.
                                      Metro suspended its automated train system after federal
                                      investigators determined a faulty track circuit module led to the
                                      moving train not automatically stopping for the stationary train
                                      in front of it.
                                      Metro is paying a consultant $1 million to study bringing back
                                      automated train operations, but since the crash, trains have been
                                      run manually.
                                      The main problem with this, WMATA spokesman Dan Stessel[5]
                                      tells us, is that if the operator overshoots the end of the platform,
                                      some of the doors in the front car will be past the platform, inside
                                      the tunnel — obviously not a great place for people to get on or
                                      off.
                                      An operator couldn’t back up without walking through all the
                                      cars and running the train the other way from the cab at the other
                                      end. And even if they were to try, the system would shut down
 Regan Zambri Long                    to prevent the train from going the wrong way.
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   202-463-3030                WMATA’s designated representative testified that she did not know who Dan Stessel was. (Ex.
                       1 at 62:2-3). Dan Stessel was WMATA’s Chief Communications Officer for nearly a decade, from May
                       2011 through December 2020. https://www.linkedin.com/in/danielstessel/.


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                                      So it’s a lot better to stop a little short than go too far. But the
                                      new eight-car trains are 600 feet long — the same length as the
                                      platforms. So the operator has to inch up, or the back cars will
                                      be short of the platform.
                                      Even though six-car trains, which run about 450 feet long, could
                                      stop before the far end of the platform and still have room in the
                                      back to clear the tunnel, operators of the shorter trains are still
                                      supposed to go as far as they can on the platform without re-
                                      entering the tunnel.
                                      The reason for that, Stessel says, is that operators might run both
                                      eight- and six-car trains over the course of a shift. So it’s better
                                      to have the trains stop at the same point regardless of the length
                                      of the train, so that operators who might mistakenly think they’re
                                      driving a shorter train don’t stop their longer trains with the rear
                                      cars still in the tunnel

                       (Ex. 8, Washington Post, “DC Rider’s Answer Line: What’s with the Metro lurch?,” Jun 26,

                       2018 (bold in original; underlining added)). At its deposition, WMATA proved substantially

                       shyer about whether its train operators would have been made aware of the obvious

                       conclusion:

                                          Q. Was that WMATA's official position as of September
                                      2019, that it was better to stop a little bit short than go a little too
                                      far in on a platform?
                                          A. That wasn't a -- that's not a written rule, I didn't -- uh-uh.
                                          Q. What about unwritten?
                                          A. I can't -- I can't -- I don't know what was told to this -- to
                                      the operator, but I know that that's not policy. So no one in
                                      management would tell her that.

                       (Ex. 1 at 69:8-18).

                              C.     WMATA train operator injures passenger doing exactly what
                                     WMATA expects reasonable passengers to be doing.
 Regan Zambri Long
 1919 M Street, NW            At approximately 6:30 PM on September 23, 2019, Carol Scott, was a passenger on
     Suite 600
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                       Orange Line subway train pulling into the McPherson Square station. (Ex. 9, WMATA
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                       Incident/Accident Report; see also Compl.)). After the train came to a stop at the station


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                       platform, Ms. Scott stood up to exit the train. After Ms. Scott had stood up, the train operator

                       suddenly “jerked,” “launched,” or “lurched” the train forward, as confirmed not only by Ms.

                       Scott, but by every single one of the three eyewitnesses identified in WMATA’s

                       Incident/Accident Report:

                                        WMATA Incident/Accident Report Witness A.E. stated:
                                        “Woman stood up because the train stopped at McPherson Sq.
                                        The train then jerked forward and the woman fell into the
                                        [aisle]. I stayed with her until paramedics arrived.”

                       (Ex. 9 at 5 (emphasis added));

                                        WMATA Incident/Accident Report Witness S.S. stated:
                                        “Train jerked at station I heard loud thump then a scream.
                                        People trying to move her after that. I called emergency in on
                                        box in car 3144 asking for emergency assistance then screamed
                                        for no one to move her till medics arrive. Then put jacket under
                                        Ms. Carol's head and tried to calm her down till medic arrive.”

                       (Ex. 9 at 5 (and transcribed at page 4) (emphasis added) (all spellings, punctuation, and syntax

                       in original));

                                        WMATA Incident/Accident Report Witness D.P. stated:
                                        “Saw the lady in question stand up when the train stopped at
                                        McPherson Sq. Unexpectedly, the train lurched forward and
                                        the lady fell hard on the aisle floor. She immediately cried out in
                                        pain and said she broke her leg. I did not hear the train conductor
                                        the train was moving again.”

                       (Ex. 9 at 7 (emphasis added)).

                              Before jerking the train forward, WMATA’s train operator did not warn the train

                       passengers that she was going to move the train forward, let alone do so violently. In addition
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                       to the above-listed witness statements, WMATA has explicitly admitted that it is not aware of
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                       any evidence to the contrary:
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                                           Q. Is WMATA aware of any evidence that would contradict
                                       that; in other words, is there any evidence that WMATA is aware
                                       of that the train operator announced the train would be moving
                                       before she moved it forward again?
                                          A. No.

                        (Ex. 10, WMATA Dep. (Bennett), at 31:17-32:7).

                               WMATA’s train operator has testified under oath that she has no recollection of what

                        happened that day. (Ex. 4 at 23:9-16). The train operator’s signed statement in WMATA’s

                        official Incident/Accident Report does not address how the incident occurred. (Ex. 9 at 1).

                               D.    The Court finds that Dr. Berkowitz’s initial expert report did
                                     not sufficiently establish national standard of care and timing
                                     of curative affidavit in context of summary judgment briefing
                                     did not allow WMATA fair opportunity to respond, reopens
                                     discovery to remedy any potential unfairness.

                               In its July 1, 2024, denial of the parties’ dueling motions for summary judgment, the

                        Court concluded that transportation engineering and safety expert Carl Berkowitz, Ph.D., PE’s

                        initial expert report did not sufficiently establish the existence of a national standard of care

                        (by identifying other mass transit agencies that also required that train operators warn

                        passengers before repositioning trains stopped at stations). (7/1/24 Order (ECF No. 34) at 16-

                        17 (“Rather, the expert must show that the practices to which the agency has committed reflect

                        ‘the national standard of care and not a higher, more demanding one. Dr. Berkowitz failed to

                        do so. He instead treated SOP ¶ 50.5.1.1 as the applicable standard without identifying any

                        other transit authority that had the same or similar policy.”) (internal quotation and citation

                        omitted)). In response to WMATA having raised this argument in its summary judgment
 Regan Zambri Long
 1919 M Street, NW      Motion, Dr. Berkowitz supplied an affidavit in which he explained that “transit authorities in
     Suite 600
Washington, DC 20036
                        New York, Philadelphia, and Chicago adhere to the same national standard of care with
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                        respect to restarting/repositioning an improperly berthed train as reflected in SOP ¶ 50.5.1.1.”


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                        (7/1/24 Order at 17 (internal quotation marks omitted)). But the Court concluded that “it

                        would be unfair to allow Scott to rely on this supplemental affidavit when WMATA has not

                        had the opportunity to depose Dr. Berkowitz about its contents or retain its own expert.”

                        (7/1/24 Order at 18). Accordingly, the Court invited the parties to proceed as follows:

                                      Based on the new evidence and arguments advanced during this
                                      round of briefing, the parties may wish to seek leave to reopen
                                      discovery so that (1) Scott can supplement her expert report on
                                      the standard of care, and WMATA, in turn, can depose Dr.
                                      Berkowitz and potentially retain its own expert [].

                        (7/1/24 Order at 20). After an unsuccessful private mediation and a status hearing, the parties

                        ultimately proceeded down that path. (See 11/26/24 Scheduling and Pretrial Order).

                               E.    Dr. Berkowitz explains that WMATA’s train operator violated
                                     not only WMATA’s explicit SOPs, but also the national
                                     standard of care.

                               Dr. Berkowitz prepared a supplemental report dated November 21, 2024. His report

                        explicitly addressed the concerns raised in the Court’s July 1, 2024, order denying the parties’

                        summary judgment motions. Among its most relevant parts:

                                      5. The National Standard of Care Requires Announcements
                                      When a Subway Train Stops Short of the Proper Platform
                                      Stop Location and Needs to Move Again
                                      As background, the national standard of care is the standard of
                                      care that is followed by the majority of subway systems in the
                                      United States. If a train stops short and needs to move again to
                                      the proper stop location, the operator should announce the
                                      reason for the stop and the subsequent movement. This helps
                                      passengers understand the situation and reduces confusion or
                                      concern. This protects passengers from the obvious risk of
                                      being thrown to the ground and hurt if the train were to move
 Regan Zambri Long                    when they would not reasonably expect it to. WMATA’s
 1919 M Street, NW
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                                      Standard Operating Procedures recognize this obvious truth,
Washington, DC 20036                  requiring that before repositioning a train, the train operator
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                                      warn all passengers by intercom announcement: “Attention




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                                   customers, this train will move forward; please hold on.”
                                   (WMATA SOP 50.5.1.1).
                                   Excerpts from Relevant WMATA Standard Operating
                                   Procedures
                                   Compliance: WMATA failed to comply with their SOP #40
                                   and SOP #50; specifically:
                                    Train Operators are responsible for the safe movement of
                                     trains
                                    If not properly berthed, announce over PA, "Your attention
                                     please, this train will move forward." SOP 40.5.1.3.3.
                                    Train Operators are responsible for making the appropriate
                                     P.A. announcements in conjunction with the standard
                                     operational procedures that require communications with
                                     customers. For example, when entering next station and
                                     repositioning train, announce over PA, “Attention
                                     customers, the train will move forward, please hold on.”
                                     SOP 50.5.1.1.
                                   ***
                                   This obvious risk of unwarned repositioning of a berthed train
                                   is recognized nationwide and accordingly reflected in the
                                   nationwide practices that constitute the national standard of
                                   care. The national standard of care requires that before
                                   restarting/repositioning an improperly berthed subway train, a
                                   train driver must first warn passengers so that they are not
                                   caught off guard by the movement and injured. The standard
                                   practices of the New York City Metropolitan Transportation
                                   Authority, Chicago Transit Authority, Massachusetts Bay
                                   Transit Authority (Boston), and the Southeastern Pennsylvania
                                   Transportation Authority (Philadelphia), among others (and in
                                   addition to WMATA’s own SOPs, of course), adhere to the
                                   same standard and rule.
                                   ***
                                   7. Conclusion
                                   It remains my professional opinion that based on the
                                   information currently available and with a reasonable degree of
                                   engineering certainty, it is my professional engineering opinion
 Regan Zambri Long
 1919 M Street, NW                 that the WMATA and the train operator violated WMATA’s
     Suite 600                     own SOP 50.5.1.1, which is consistent with the national
Washington, DC 20036
                                   standard of care, when entering McPherson Square Station,
   202-463-3030                    stopping the train, and then repositioning it without warning the
                                   train’s passengers. The safety risk that passengers will be


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                                      thrown to the ground and injured by unexpected and unwarned
                                      movement of a train that has stopped at a station platform is
                                      long- and well-known, which is precisely why common carriers
                                      such as WMATA are required to warn passengers before doing
                                      so. Failure to properly and safely berth the train at the station
                                      directly caused Ms. Scott’s injury. The train operator suddenly,
                                      unexpectedly accelerated the train forward without providing
                                      passengers any advance warning. In fact, moments before the
                                      sudden jerk of the train, there was a PA announcement
                                      indicating the station name and that the doors were opening to
                                      the left. This announcement misled passengers to believe that it
                                      was safe to get up from their seats and exit the train

                        (Ex. 11, Berkowitz Supp. Report, at 5, 8, 10).

                               F.   WMATA has not designated any expert to refute the national
                                    standard of care set forth in Dr. Berkowitz’s 11/21/24 Report.

                               It has been fifteen months since Plaintiff filed Dr. Berkowitz’s affidavit certifying that

                        “transit authorities in New York, Philadelphia, and Chicago adhere to the same national

                        standard of care as set forth in WMATA SOP ¶ 50.5.1.1. (Berkowitz Aff., ECF No. 29-5). It

                        has been seven months since the Court’s July 1, 2024, Order explicitly stated that WMATA

                        would be allowed time to retain an expert to rebut Dr. Berkowitz’s opinions. WMATA has

                        known for a long time that this moment was coming. It has not designated any expert.

                               Which begs the question: If WMATA seriously believes that the national standard of

                        care does not require that before restarting/repositioning an improperly berthed subway train,

                        a train driver must first warn passengers so that they are not caught off guard by the movement

                        and injured, why has it not designated an expert to say so? WMATA is in the business of

                        operating a subway system. How many phone calls could it possibly take WMATA to find a
 Regan Zambri Long
 1919 M Street, NW      qualified expert on the subject? If there existed a qualified expert who would support
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                        WMATA’s argument, how much cheaper would that short report have been for WMATA than
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                        the legal fees associated with preparing the instant Motion?


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                                 The answer suggests itself: No qualified expert would sign his or her name to

                        WMATA’s litigation position. The rule at issue in this case is not some arcane point that only

                        train aficionados can understand and appreciate. This rule—like the danger against which it

                        is intended to guard—is a common-sense, obvious one. As Dr. Berkowitz put it:

                                        This obvious risk of unwarned repositioning of a berthed train
                                        is recognized nationwide and accordingly reflected in the
                                        nationwide practices that constitute the national standard of
                                        care. The national standard of care requires that before
                                        restarting/repositioning an improperly berthed subway train, a
                                        train driver must first warn passengers so that they are not
                                        caught off guard by the movement and injured.

                        (Ex. 11 at 8). When a danger is obvious and the simple rule to guard against it is equally

                        obvious, it should not be surprising that subway operators across the nation follow the same

                        rule.


                        II.     Argument

                                 A.   At trial, Dr. Berkowitz will offer testimony on precisely one
                                      subject: the national standard of care that WMATA’s train
                                      operator violated, thereby injuring Ms. Scott.

                                 As described above, the very purpose of reopening discovery in this case was to allow

                        Dr. Berkowitz to formally present, via supplemental report, the only expert opinion that

                        mattered in the parties’ summary judgment briefing—that the national standard of care

                        requires that before restarting/repositioning an improperly berthed subway train, a train driver

                        must first warn passengers—and allow WMATA a fair opportunity to respond to it. But

                        instead of substantively engaging with that opinion, WMATA has done everything it can to
 Regan Zambri Long
 1919 M Street, NW
     Suite 600          avoid engaging with the relevant opinion. WMATA’s counsel spent perhaps 10 minutes of
Washington, DC 20036

   202-463-3030         his three-hour deposition of Dr. Berkowitz on the subject.



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                                Similarly, WMATA devotes the majority of its Motion to the topics of jerk rates,

                        workplace safety laws, hazard management, and Dr. Berkowitz’s understanding of common

                        carrier law.6 All of those subjects were (superfluously) referenced in Dr. Berkowitz’s initial

                        report, true. But none of them have anything to do with whether the national standard of care

                        requires that before restarting/repositioning an improperly berthed subway train, a train driver

                        must first warn passengers (which is precisely why they do not appear in Dr. Berkowitz’s

                        Supplemental Report). Had WMATA’s counsel engaged in a serious attempt to meet and

                        confer before filing the instant Motion, the briefing could have been drastically streamlined.

                        Relatedly, WMATA also attempts to smear Dr. Berkowitz on the basis that his testimony has

                        previously been limited by a handful of courts on unrelated topics—but again, not on the sole

                        topic relevant to the present case. Whether the inclusion of these items in the instant Motion

                        is the result of mere good-faith ignorance or a conscious attempt to make some other point,7

                        WMATA’s decision to include them is not a productive use of the Court’s or parties’ time.

                                B.    Dr. Berkowitz’s Supplemental Report adequately describes
                                      the relevant national standard of care that WMATA’s train
                                      operator violated, thereby injuring Ms. Scott.

                                In its summary judgment briefing, WMATA complained that Dr. Berkowitz had not

                        identified other subway operators that adhered to the national standard of care. Now, having



                            6
                                WMATA’s characterization of Dr. Berkowitz’s citation in a footnote to the wrong section of the
                        United States Code perhaps deserves special mention—even after bizarrely dwelling on the matter for
                        roughly thirty minutes across two separate depositions, (the second deposition having been taken February
                        3, 2025, in the eerily similar case Thurston v. WMATA, Case No. 1:24-cv-00832 (PTG-WBP) (E.D. Va.)),
 Regan Zambri Long      WMATA’s counsel simply refused to believe that Dr. Berkowitz—a non-lawyer—could possibly have
 1919 M Street, NW
     Suite 600          accidentally cited the wrong portion of the Code.
Washington, DC 20036        7
                                  As perhaps suggested by, for example, heading III.b: “Dr. Berkowitz’s testimony regarding jerk
   202-463-3030         rates demonstrates the unfounded nature of his expert opinions.” At risk of stating the obvious, even if
                        this is the intent, the logical underpinnings of such an argument leave something to be desired. “Mr. A is
                        wrong about X; therefore, Mr. A must also be wrong about Y” is not logically sound.


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                        been provided with a list of five of the nation’s largest subway operators, each of which does,

                        in fact, adhere to the national standard of care, WMATA tries to move the goalposts,

                        complaining that “Dr. Berkowitz failed to cite to a single specific policy document from any

                        of those transit systems in support of this assertion.” (Def.’s Mot. at 7). (In so arguing,

                        WMATA perhaps forgets that its own written policy, which is competent evidence of the

                        standard of care, is already record evidence.) But, more importantly, that is not what the law

                        requires. WMATA cites no authority for its proposition that an expert must supply copies of

                        written policies codifying other entities’ adherence to the national standard of care. And for

                        good reason—were that the rule, it would set an impossibly high bar for an expert to describe

                        the national standard of care in almost any type of case.

                                As Dr. Berkowitz explained to WMATA’s counsel at his deposition, there are only

                        approximately8 16 “metro”-style transit authorities in the United States, only roughly 11 of

                        which operate underground subway systems akin to WMATA’s. (Ex. 12, Berkowitz Dep., at

                        135:12-15). In preparing his Supplemental Report, Dr. Berkowitz started with the largest and

                        worked his way down. (Ex. 12 at 137:10-138:22). Through the art of selective quotation,

                        WMATA attempts to paint Dr. Berkowitz’s knowledge of those five subway operators’

                        adherence to the national standard of care as flimsy and uninformed. (See generally Def.’s

                        Mot. at 6-8). But that is an illusion. As Dr. Berkowitz explained at great length in his

                        deposition, (Ex. 12 at 132:15-150:17), through a full career’s worth of experience, work for

                        various of the subway operators at issue, work against some of them as a retained expert,
 Regan Zambri Long
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                            8
   202-463-3030                 Depending on the details of how one counts light versus heavy rail, what percentage of track must
                        be underground to count as a subway, etc. This was not addressed in full because WMATA’s counsel
                        twice interrupted Dr. Berkowitz’s testimony as he was beginning to explain this. (Ex. 12 at 135:12-19).


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                        designing and teaching training courses for the MTA’s managerial employees, belonging to

                        various professional organizations, serving on myriad committees of the same (among other

                        things), Dr. Berkowitz is able to state with authority that the subway operators of New York

                        City, Chicago, Boston, and Philadelphia, among others (and in addition to WMATA’s own

                        SOPs, of course), adhere to the national standard of care. (Ex. 11 at 8). And, as repeatedly

                        noted, this particular nationally recognized rule is not a complicated one; it is a “common

                        sense” rule, (Ex. 12 at 143:6-8), to guard against an “obvious” risk, (Ex. 11 at 8, 10).

                               Imagine a lawyer who has been in practice for forty years in the field of civil litigation.

                        She is barred in several states, has practiced pro hac vice in several others during her career,

                        and has professional acquaintances in many more. She is a member of various national

                        organizations related to her field of practice; she has served on committees and taught CLEs.

                        She has taught law school classes on the subject of civil discovery and mentored young

                        lawyers. Does she have sufficient knowledge, skill, and experience to testify that she is

                        certain that the prevailing national practice is to stenographically record depositions taken

                        during the civil discovery process? Or would she need to obtain written documentation of

                        from law firms across the country that that is indeed their practice? Obviously, that is an

                        imperfect metaphor and reasonable minds could quibble over its particulars. But it may help

                        illustrate the absurdity of the situation here. To an expert in Dr. Berkowitz’s field, the national

                        standard of care that governs here is blindingly obvious. (And again, perhaps nothing

                        underscores this better than the conspicuous absence of a liability expert for WMATA.)
 Regan Zambri Long
 1919 M Street, NW             The law does not requite that Dr. Berkowitz obtain copies of other subway operators’
     Suite 600
Washington, DC 20036
                        written internal policies and procedures. The Rules simply require that the Court be satisfied
   202-463-3030

                        that Dr. Berkowitz, by dint of his knowledge, skill, experience, training, or education,


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                        possesses sufficient specialized knowledge to assist the trier of fact. FED. R. EVID. 702.

                        Beyond that point, WMATA’s recourse lies in cross-examination, not exclusion. For the

                        reasons set forth above, Dr. Berkowitz does possess such specialized knowledge, and the

                        Court should deny WMATA’s request that the Court bar him from testifying as to the national

                        standard of care applicable to WMATA’s train operator.

                               C.    WMATA’s complaint regarding its non-possession of
                                     Dr. Berkowitz’s case list is a red herring.

                               Dr. Berkowitz was designated as an expert nearly two full years ago, on March 17,

                        2023. (Pl.’s Prelim. Expert Desig. (ECF No. 18) at 6-7). Plaintiff’s Preliminary Expert

                        Designation stated as follows:

                                       Dr. Berkowitz’s education, training, qualifications, and
                                       experience are set forth more fully in his curriculum vitae
                                       (including case list and fee schedule), attached as Exhibit 1. Dr.
                                       Berkowitz has prepared a preliminary report, Exhibit 2, which is
                                       incorporated herein by reference.

                        (Pl.’s Prelim. Expert Desig. at 7). Obviously, the fact that a case list was not provided at that

                        time was an oversight. While undersigned counsel apologize for the oversight, they would

                        also respectfully suggest that under the circumstances, the appropriate course of action would

                        be to pick up the phone, call opposing counsel, and request the case list. Less appropriate, on

                        the other hand (or at least not the prevailing practice among members of the bar, nor the

                        professionally courteous one) would be to lie in wait for two years, raise it for the first time

                        on the record at a deposition, and cry prejudice in a motion filed immediately thereafter.

                               WMATA has chosen the path less traveled. Over the course of the twenty-two months
 Regan Zambri Long
 1919 M Street, NW
     Suite 600          between Dr. Berkowitz’s designation and his January 28, 2025, deposition, WMATA did not
Washington, DC 20036

   202-463-3030         ever, even once, advise the undersigned that a case list was missing. Instead, it chose to raise



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                        it for the very first time at Dr. Berkowitz’s deposition. Undersigned counsel immediately

                        asked Dr. Berkowitz to provide an up-to-date case list; it was received and forwarded to

                        WMATA’s counsel earlier today.

                                It is difficult to imagine that WMATA has suffered any prejudice from not having

                        previously received Dr. Berkowitz’s case list. If that proves not to be the case, Plaintiff is of

                        course willing to discuss with defense counsel how best to address the matter. But it has to

                        be said that WMATA’s handling of the matter thus far is less suggestive of a party interested

                        in collegially obtaining a discovery document and more suggestive of a party trying to

                        leverage a minor, honest mistake to its litigation advantage. The undersigned respectfully

                        suggest that WMATA’s choice is not the best use of either the parties’ or the Court’s

                        resources.


                        III.   Conclusion

                                For the reasons set forth above, Ms. Scott respectfully requests that the Court DENY

                        Defendant’s Motion in Limine re: Dr. Berkowitz.



                                                                            Respectfully submitted,

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